  Case 9:12-cv-80364-KAM Document 50 Entered on FLSD Docket 07/09/2012 Page 1 of 5



    IN TH E UNITED STA TES DISTRTCT CO UR T FOR THE SO UTH E
         DISTRTCT O F R O R IDA W EST PA LM BEACH DIW SIO N

                                 CA SE NG 124 0364+ 11 -                               N

STATE OF FLORHW EX RELATIONE     )              Jr( ;g ;.,g
                 JOHN KORM AN    )                           *'
                      Relatora   )              Ss
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              v.                 )                              .
                                 ) CIVILRIGHTS1983W OLAH ON
AURORA LOAN SERW CES LLC;       )           FORGERY
OFFICE OF CEO,AND PRES OF AURORA;)           USURY
AIJROM BAc FSB;                  )      G VR CONSPM C Y
M lm sco e H o lm m c s m c ;                            SW I,I.TONATION
MORTGAGEELlcw oklc                                        O      SIC FRAUD
REGISTR ATION SY STEM S INC ;                          A W EM PTED IA R CEN Y
LEH M AN X S TRU ST :* 111                          FR A UD UL EN T C O N V ER SIO N
LA SALLE BAN K N.A.asTRU STEE;                        CONSTRUCIW E *          17D
U.S.BANCO RP assuccessorIALIJSU E;                     W O LATION OF FDCPA
A SSO CIATE S L AN D T IT LE IN C ;                     W O IA T IO N O F TC PA
TIIEODORE SCHITI,TA lndividual;                         W OIA TION 0# FCM
LAURA M CCANN Individual;                             W oLm oN oF FDU TPA
CYNTITIA W ALLACE,Individual;
JOm REIN Individual;
LAW OFFICE OF DAVID J.STERN P.A.; )                          U W EY N G
DAW D JAM ES STERN Esquire;       )                             R I.C.O.
K AQ O L S.PIER C E,Esquire;                 )       FM UDULENTINDUCEM ENT
C A SSA N D M M C IN U R IG A U D ,E e uia ; )               FAL SE C M
M ljW àARNES,Esquire;                        )          M ORTGA GE FR AUD
DARI,INE DIETZ,No> ;                         )       PRO FESSIONM ZNEGIGENCE
JOH N DOE 1- 1001                            )
JANE DOE 1- 1001                             )              D EM AN D FO R JU RY
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                                 Defo dalts. )                Fed.K CiV.P.38(b)
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  Case 9:12-cv-80364-KAM Document 50 Entered on FLSD Docket 07/09/2012 Page 2 of 5



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D efendaat>s,K AROL S.PW RCE E- uix 'sM OTION TO DISW SS Tltiscasehasthe
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potentialto be considc d asa r>* of& stimm ession * e11in itstotality H erein
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KAROL S.PY RCE Esquire.alemmned Attom ey pe cipated in a foreclosm e Action in

violationofTitle11U .S.C.362(C).which isafe eralcrime.K AROL S.PW RCE
Esquireis an em ployee ofthe Law Om cesofDavid J.Stem P.A ..atalltim erelevant.

The Iwaw Om cesofDavid J.Stern P.A .isa Third-party-Debt-collector.who falsely

claimed to representG eCTeditor.See.Lawyerresponsible foTfalse debtoollection

clai% FederalFairDebtColle on M dicesAd,15U.S.C.S.9 1692 etseq,and

Heintzv.Jenldns,514 U.S.:911115 & CK 1489,131L.Ed.Cd 395 (1995);During
the course ofthisinstantm or- zing theCourtw illsnd AUROR A LOAN SERW CES

LLC isnotthe Creditorwith the rightto foreclose.which KAROL S.PIERCE Esquire

falselyrepresentedtoJOlW KORV AN.andtheCourtwasmisiaformedinorderför
K AROL S.PIERCE Esquireto facilitate an actoflarceny againstJOHN KORM AN .by

grossnegligence,and anabsenceofduecare.

            KAROL S.PY RCE,Esqe e wasnegligentin theexecu:on ofitsduty as

an Offk erofthe Court.canKe.d barm to the Hom e-o wnerin term softhetim e expended

defending one'shomeagainstanille> assaultJtnd themoney lostindoing so,notto
m ention m entaldie essxallofwhich wasavoidable had KAROL S.PW RCE exercised

alittle due diligence and re-m nable careaw hich isobviously absent.


KOQM AN VAURORA G K                   Page 2 of 5
  Case 9:12-cv-80364-KAM Document 50 Entered on FLSD Docket 07/09/2012 Page 3 of 5



           K AROL S.PIERCE.EK UW pe cipated in a schem eto illegally M nqfer

JOHN KORM AN 'Spropeo to a Com oraion K AROL S.PIERCE Esquire served, in

utterdisregard fortheruleoflawxdoaein thecapacityofale> professionak asa
m emberofthatlegalprofession.

FederalRuleofCivilProce ure@(a)sM estv acomplaintshould contain aaO prfand
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defendantfaira/e eofwkatâe#W e r xclaim & andtkegrnun* upon which f/
rests.''Swierkewiczv.SoremaN.A.,534U.S.J* ,512 (2(*2).
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require only aconcise A tementofthe clzimxrathertltnn evidenéary facts.Accore gly,
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  Case 9:12-cv-80364-KAM Document 50 Entered on FLSD Docket 07/09/2012 Page 4 of 5



standm'd reliesonliberaldiscoveryrulesald summaryjudn entmotionsto defme
disputed factsand to dispose ofnnm eritoriousclaim s.See Swierklew icz,534 U.S.at

512.Indeed,courtshave fou d thlktifthe inform ltion x ughtby them otion isobe able

through discovery,tàem otion should be denied.Seese.paTow eo TenantAssçiiw

TowersLtd.P'shim 563 K Supp.%          569 (D.D.C.1983)(den> gmodon foramore
defm ite statem enthem use detailRsuch as<<a- M :#>       nam - la#pllre#>are athe

centralobjectl.fe r/ver-g,and *>>#- beplesaor j.HereatheStateofFlorida's
Complaintisnotzmintellip ble orconfusing and doesnotviolateFedezalRttleofCivil

Procedure8(a)'srequirementof*<qx1@# qndpI.x*- e-- - roftkerllf- showing that
tAe#lel* içe-tlilpd * reW ''n eComple tclearlyhasamoreth% sum cient
statementofthe claim and m ore lbxn m eetstherequirem entthatitbe Ktshortand plain.''

Forexample.the Com plaintsN iâcally identilesthe actions ofD efendantK AROL S.

PV RCE,Esquireandhow thoseacdonsarewrongful.
W HEREFORE.based on theforegoing.DefendantK ARO L S.PIERCE'SM OTION TO
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DISV SS should be denied;                                           g'
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Respece ly submitted;                                                            . .
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                                                              934 SW 21 W ay,
                                                              B oca R aton 33486
                                                                 Florida U .S.A .
                                                           (561)393-0773
                                                      kornmn700l@ com cast.net


Kfm M AN VAURORAG K                   Page4 of5
   Case 9:12-cv-80364-KAM Document 50 Entered on FLSD Docket 07/09/2012 Page 5 of 5



                           CERTIFICATE O F SER W CE
THE UN DEM IG NED I'   IER EBY CERTIFIES tbata% e and correctcopy ofhereof
hasbeen forwr dedavia & stclassU .S.M nil,to the following;Steven Ellison,Esquire,
Broad and Cassel.One N orth Clem atisStreet,Suite 500.W estPalm Beach Florida
33401, and K OROL S.PY RCE.6121 SW 421xlCo< D avie Florida 33314;
      .




Via e-m nilto the follow ing;

H ARRIS K .SOLOM ON
harris.solomon@brinkleymorgan.com
STACY M .SCHW ARTZ
Stacy.schwartz@ brinkleymorgan.com
A LBA L.CLEW LA N D
Alba.cleveland@brinkleymorgan.com
K AI,EY LOU ARDO
Kaley.Lombardo@brinklem organ.com

SpencerTew
st@tewlaw.com
on this9* day ofJuly,2012   .




                                                 John K orm an
                                                934 SW 21StW ay
                                          Boca Raton,Florida 33486
                                                (561)393-0773




KORMAN VAUXORYGX                     Page5of5
